      Case 2:11-cr-00191-MHT-CWB Document 595 Filed 03/09/17 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA               )
                                       )      CRIMINAL ACTION NO.
        v.                             )         2:11cr191-MHT
                                       )              (WO)
JASON TERRELL DAVENPORT                )

                                     ORDER

       The Retroactivity Screening Panel having been unable

to reach a decision as to whether defendant Jason Terrell

Davenport should receive a reduction of sentence and the

panel having recommended (doc. no. 594) that the court

appoint counsel and hold a hearing, it is ORDERED that:

       (1) The Federal Defender is appointed to represent

defendant Jason Terrell Davenport.

       (2) A telephonic status conference is set for March

13, 2017, at 10:00 a.m., to discuss defendant Davenport’s

entitlement to a reduction and set a briefing schedule.

The parties should be prepared to identify and discuss

all     major    issues    to   be    addressed     in   the    briefing,

including, but perhaps not limited to, the application of

Freeman v. United States, 131 S. Ct. 2685 (2011), and
   Case 2:11-cr-00191-MHT-CWB Document 595 Filed 03/09/17 Page 2 of 2


U.S.S.G. §1B1.10(c), the policy statement formerly known

as Amendment 780.        Counsel for the government shall be

responsible for arranging the conference call.

    DONE, this the 9th day of March, 2017.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
